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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             DETROIT, MICHIGAN

Loabat Amiri, et al.,
Plaintiffs,                                        Case No. 17-cv-12188

v.
                                                   Hon. Thomas L. Ludington
                                                   Mag. Judge Patricia T. Morris
Department of Homeland Security, et al.,

Defendants.
__________________________________/




PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION
             TO DISMISS PLAINTIFFS’ COMPLAINT




      Plaintiffs, Loabat Amiri, Mohamed Amin Latif, and Farbod Latif, by and

through their undersigned counsel, and for their Response to Defendants’ Motion

to Dismiss Plaintiffs’ Complaint (Defendants’ Motion to Dismiss) state as follows:



      WHEREFORE, for the reasons discussed in the accompanying Brief,
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Plaintiffs respectfully request this Honorable Court DENY Defendants’ Motion,

and in turn award Plaintiffs their costs, attorneys’ fees, and any other relief it

deems just and equitable in having to defend this instant motion.



Respectfully submitted:                                Dated: November 24, 2017

 s/Caridad Pastor Cardinale
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
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Loabat Amiri, et al.,
Plaintiffs,                                         Case No. 17-cv-12188

v.
                                                    Hon. Thomas L. Ludington
                                                    Mag. Judge Patricia T. Morris
Department of Homeland Security, et al.,

Defendants.
__________________________________/




 BRIEF IN SUPPORT OF PLAINTIFFS’ RESPONSE IN OPPOSITION TO
              DEFENDANTS’ MOTION TO DISMISS



     The Defendants’ Motion to Dismiss should be denied because the Defendants

have erroneously argued that this is a case involving the doctrine of consular

nonreviewability. The Defendants are attempting to narrow the scope of this case

by pointing to the doctrine of consular nonreviewability when in fact this case

involves many more legal issues including the review of agency actions.
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                     STATEMENT OF ISSUES PRESENTED



   May a district court second-guess a consular officer’s determination to refuse a

visa for terrorist activities in the absence of specific factual allegations of bad faith

by the consular officer?

   PLAINTIFFS RESPONSE: This is not the issue in this case because the

Plaintiffs are not asking the court to second guess a consular officer’s

determinations but rather to review constitutional violations and unlawful agencies

actions.




                     MOST CONTROLLING AUTHORITY

           Immigration and Nationality Act of 1952
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FEDERAL RULES

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                                    v
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       I.      STATEMENT OF MATERIAL FACTS


       Plaintiff Mohammad Amin Latif (Latif) is a citizen of Great Britain.

    Dkt. 19 at ¶ 27. Plaintiff Loabat Amiri (Amiri) is a lawful permanent

    resident of the U.S. Dkt. 19 at ¶ 48. Plaintiff Farbod Latif (Farbod) is a U.S.

    citizen. Dkt. 19 at ¶ 27. Plaintiff Latif was interviewed at the U.S.

    Consulate in London on his derivative immigrant visa. Dkt. 19 at ¶ 50.

    Years afterwards and after numerous requests and the filing of a mandamus

    action in this District, the U.S. Embassy in London issued a letter stating that

    Latif been found ineligible to receive an immigrant visa under INA§ 212(a)

    (3)(B) of the INA. Dkt.19 at ¶ 50.

            Plaintiff Amiri discovered that she received a TECS designation the

    same date that Plaintiff Latif received the same, five days prior to Latif

    appearing at the border to request a parole into the U.S. Dkt. 19 at ¶ 43.

            The Plaintiffs do not know which agency made the determination nor

    why these determinations and TEC entries were made and have been refused

    requests for more information on the determination. Dkt. 19 at ¶ 51.




                                           1
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       II.      MOTION TO DISMISS STANDARD OF REVIEW


                   The standard of review in a motion to dismiss pursuant to

    Fed.R.Civ.Pro 12(b)(6) for failure to state a claim requires a court to review

    the complaint accepting all of the factual allegations in the complaint as true,

    and construing them in a light most favorable to the plaintiff. Windsor v. The

    Tennessean, 719 F.2d 155, 158 (6th Cir. 1983); Westlake v. Lucas, 537 F2d.

    857, 858 (6th Cir. 1976).

             Further, any conflicting interpretations of facts must be construed in

    the plaintiff’s favor. Sinay v. Lamson & Sessions Co., 948 F.2d 1037, 1039‐

    40 (6th Cir. 1991). As such, in deciding to grant a motion to dismiss for

    failure to state a claim, the Supreme Court has stated that “a complaint

    should not be dismissed for failure to state a claim unless it appears beyond

    doubt that the plaintiff can prove no set of facts in support of his claim

    which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45‐46

    (1957); see also Lewis v. ABC Bus. Serv., Inc., 135 F3d 389, 405 (6th Cir.

    1998).

             A Motion to Dismiss pursuant to Rule 12(b) (1) includes two types of

    attacks: facial attacks and factual attacks. O'Bryan v. Holy See, 556 F.3d 361,

    375 (6th Cir. 2009); Gentek Bldg. Prods. v. Sherwin-Williams Co., 491 F.3d

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    320, 330 (6th Cir. 2007). When a Rule 12(b)(1) motion attacks the plaintiff's

    claim of subject matter jurisdiction on its face, the facts are not in dispute

    and the allegations of fact in the complaint are generally considered as true.

    The plaintiff's burden to establish subject matter jurisdiction is not onerous.

    Musson Theatrical, Inc. v. Federal Express Corp., 89 F.3d 1244, 1248 (6th

    Cir. 1996). When there is a facial attack, the plaintiff can survive a Rule

    12(b) (1) motion to dismiss by showing that the complaint alleges a claim

    cognizable under federal law and the claim is "substantial." A claim is

    substantial unless prior court decisions inescapably render it frivolous.

    Michigan Southern R.R. Co. v. Branch & St. Joseph Counties Rail Users

    Ass'n, Inc., 287 F.3d 568, 573 (6th Cir. 2002); Transcontinental Leasing, Inc.

    v. Michigan National Bank of Detroit, 738 F.2d 163, 165 (6th Cir. 1984). A

    plaintiff can survive a facial attack by showing any arguable basis in the law

    for his claims. Board of Trustees v. City of Painesville, 200 F.3d 396, 398

    (6th Cir. 1999); Moore v. Ferrellgas, Inc., 533 F. Supp.2d 740, 744 (W.D.

    Mich. 2008).




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       III.   ARGUMENT
              1. The doctrine of consular nonreviewability is not applicable to

                 this case because a consular officer, alone, did not make the

                 inadmissibility determination and deny the visa.



          Despite Defendants allegations to the contrary, this is not a case of

    consular nonreviewability - it is much more complex. The Defendants

    attempt to argue that under Kerry v. Din, 135 S.Ct. 2128 (2015), the consular

    officer’s determination of inadmissibility is sufficient and no further inquiry

    is required. The Defendants reliance on Kerry v. Din is misplaced. A

    determination of inadmissibility based INA§212(a) (3) (B) is not made by a

    consular officer or the U.S. Department of State (DOS). With the enactment

    of the Homeland Security Act of 2002 (HSA) §428, Congress delegated

    ultimate authority over the functions of consular officers and authority over

    most visa refusals to the Secretary of the Department of Homeland Security

    (DHS). Pub. L. No. 107-296, 116 Stat. 2135 (Nov. 25, 2002). The HSA

    provided that “all authorities to . . . administer, and enforce the provisions of

    [the Immigration and Nationality] Act and of all other immigration and

    nationality laws, relating to the functions of consular officers of the United

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    States in connection with the granting or refusal of visas” are now “vested

    exclusively” with the Secretary of Homeland Security, 6 U.S.C. § 236(b) (1).

    In fact, the DHS is almost exclusively in control of visa matters with a few

    exceptions and then DOS must consult with the DHS. See, National

    Immigration Project of the National Lawyers Guild, Visa-Related Activity

    Chart (Jan. 6, 2015),

    https://nationalimmigrationproject.org/PDFs/practitioners/practice_advisor

    ies/pr/visa-activities-chart.pdf

          The HSA mandates that DHS personnel be assigned to diplomatic

    posts. See, Homeland Security Act of 2002, P.L. 107-296, § 428(e), 116 Stat.

    2135, 2189-90.      The U.S. Embassy in London has DHS personnel on site.

    See, https://uk.usembassy.gov/embassy-consulates/government-

    agencies/dhs/ice/

    This is the U.S. Embassy where Plaintiff Latif was determined to be

    inadmissible and denied an immigrant visa based on INA§212(a)(3)(B).

          The information used in an INA§212(a) (3) (B) inadmissibility

    decision originates from databases or watch list information maintained by

    the Defendants DHS, the FBI, and other federal law enforcement and

    intelligence agencies. This is information which consular officers cannot


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    evaluate or which is not available to them - the result of which renders the

    exercise of consular discretion meaningless. Thus, visa denials based on

    INA§212(a)(3)(B) frequently involve no consular investigation or discretion,

    but are compelled by a database entry—“known or suspected terrorist”—that

    consular officers are powerless to question, much less overrule. Consular

    officers have no investigative role or authority to challenge information

    contained in databases and watch lists from other agencies. See, Brief of

    Former Counselor Officers as Amicus Curiae in Support of Respondent, p.9

    Kerry v. Din, 135 S. Ct. 2128 (2015)        (“Amici were keenly aware during

    their service that questioning the national-security basis provided by other

    agencies for visa denials would not be well received either by those agencies

    or their own superiors in the Department of State”) When consular officers

    believe an inadmissibility determination might be in error, they can request a

    Security Advisory Opinion (SAO). This procedure is outlined in the

    Memorandum of Understanding between the Secretary of DHS and DOS

    which indicates that “[c]ases in which a third agency to which such a SAO

    request is referred believes that denial of a visa is appropriate and DOS

    believes the information is legally insufficient will be referred to the

    Secretary of Homeland Security to decide whether the facts support denial of


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    the visa in accordance with law.” Memorandum of Understanding Between

    the Secretaries of State and Homeland Security Concerning Implementation

    of Section 428 of the Homeland Security Act of 2002 at 7 (Sept. 28, 2003).

    Clearly the final decision about inadmissibility under INA§212(a) (3) (B) is

    made by DHS and not consular officers. DHS actions as well as that of

    other agencies are reviewable by federal courts. 5 U.S.C. §706.

          INA§212(a) (B)(3) visa denials are quite different than denials based

    on consular discretion (i.e. immigrant intent where an consular officer

    determines that the person intends to live permanently in the USA though

    applying for a temporary visa are denied under INA§214(b)). In Lihua Xu,

    cited by the Defendants, the court held that the doctrine of consular

    reviewability deprived it of subject matter jurisdiction. Lihua Xi v. United

    States Department of State, No. 2:08-cv-1023, 2010 WL 3942723 (S.D.

    Ohio Oct.6, 2010) The Lihua Xu case involved an untimely filed application

    and not an INA 212(a) (3) (B) visa denial. In instances like late filed

    applications, the determinations are made by consular officers which is not

    the case here.

          INA 212(a)(3)(B) visa denials bear no resemblance to the traditional

    exercise of consular discretion because the real decision-making in these


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    cases has in effect been ceded to the databases and watch listing process, in

    which government agents other than consular officers determine

    inadmissibility under INA§221(a)(3)(B). Therefore, the doctrine of consular

    nonreviewability is not applicable to this case.

          But even if the doctrine of consular nonreviewability applied in this

    case, constitutional challenges of the denial of visas are entitled to limited

    judicial review. The Defendants concede this limited judicial review in their

    Motion to Dismiss arguing that bad faith is required in order for a court to

    review a consular officer’s decision. Dkt. 20 at 12. The judicial review

    required in visa denials is limited to the reasons given for the adverse

    decision, unless the reasons are facially legitimate and bona fide. Mandel v.

    Kleindienst , 408 U.S. 753, 770 (1972) “We hold that when the Executive

    exercises [the power to admit] negatively on the basis of a facially legitimate

    and bona fide reason, the courts will neither look behind the exercise of that

    discretion, nor test it by balancing its justification against the First

    Amendment interests of those who seek personal communication with the

    applicant.” Mandel v. Kleindienst, 408 U.S. at 770 (emphasis added). A

    facially legitimate and bona fide visa decision is one in which there is a

    statutory basis for the decision and an absence of an allegation that the


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    consular officer did not in good faith believe the information he had before

    him/her. Am. Acad. of Religion v. Napolitano, 573 F.3d 115 (2nd Cir. 2009);

    Bustamante v. Mukasey, 531 F.3d 1059, 1062 n.1 (9th Cir. 2008). The cases

    which deal with the bona fide requirement, including the cases cited by the

    Defendants, all specifically state with some degree of specificity what are

    the grounds for the visa denials. See, Kerry v. Din, 135 S.Ct. 2128 (2015)

    (Employment with the Taliban); Mandel v. Kleindienst, 408 U.S. 753 (1972)

    (prior visa violations); Abourezk v. Reagan, 592 F. Supp. 880, 888 (D.D.C.

    1984) ("Abourezk I") (officials of hostile governments i.e. Cuba, etc.)

    Bustamante v. Mukasey, 531 F.3d 1059 (9th Cir. 2008) (drug trafficking);

    Saavedra Bruno v. Albright, 197 F 3d. 1153 (D.C.Cir. 1999) (drug

    trafficking); Garcia v. Baker, 765 F. Supp. 426 (N.D.Ill. 1990)(willful

    misrepresentation in prior visa application regarding intended length of

    stay); Singh v. Tillerson, No. 16-922 (CKK) 2017 WL 4232442 (D.D.C.

    Sept. 21, 2017) (misrepresentation of ages of children on visa applications).

    The other cases cited by the Defendants are either prior to the HSA in which

    consular officers exercised all visa decisions or deal with other statutes not

    involving the terrorism grounds of inadmissibility. Ben Issa v. Reagan, 645

    F. Supp. 1556 (W.D. Mich. 1986) (Prior to the enactment of the HSA


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    assigning INA 212(a) (3) (B) determinations to DHS); Bangura v. Hansen,

    434 F.3d 487(6th Cir. 1989) (visa denial on marriage fraud basis and prior to

    HSA); Almario v. Att’y Gen., 872 F.3d 147 (6th Cir. 1989) ( denial based on

    marriage fraud basis and prior to HSA).

             In the case at bar, the Defendants have failed to provide a legally

    sufficient basis for the inadmissibility determination. The Plaintiffs do not

    know why Plaintiff Latif was denied a visa pursuant to INA§212(a) (3) (B)

    and why Plaintiff Amiri has a TECS designation. A denial under the broad

    grounds of INA §212(a) (3) (B), without more or any specificity, cannot

    meet the facially legitimate and bona fide standard required under Mandel

    because the citation to an entire statute section fails to provide a

    challengeable factual basis. Furthermore, a TECS designation is made by a

    federal agency (not consular officers). Consular nonreviewability is

    inapplicable to Plaintiff Amiri’s TECS designation.

             Courts have held that if a visa denial affects the constitutional rights

    of American citizens, the denial may be reviewable. 1 Cardenas v. United

    States, 826 F.3d 1164, 1169 (9th Cir. 2016); Hazama v. Tillerson, 851 F.3d

    706 (7th Cir. 2017) see also Din v. Kerry, 135 S. Ct. at 2141–42 (dissenting
    1 This rationale should be extended to permanent residents since the U.S. Constitution applies to all persons
    not just U.S. Citizens. Zadvydas v. Davis, 533 U.S. 678, 693 (2001); see also Mathews v. Diaz, 426 U.S.
    67, 77 (1976) holding that due process applies to all aliens in the United States, even those whose presence
    is "unlawful, involuntary, or transitory").

                                                         10
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    opinion of Breyer, J., joined by Ginsburg, Sotomayor, and Kagan, JJ.,

    recognizing this right); Id. at 2139 (concurrence in judgment of Kennedy, J.,

    joined by Alito, J., assuming arguendo that such a right exists).

          The opinion in Kerry v. Din was not a majority opinion. Kerry v. Din,

    135 S. Ct. 2128 (2015). What Kerry v. Din does show is that a majority of

    the Court is willing to allow some kind of review of consular officer visa

    decisions. Both the concurring opinion of Justice Kennedy and the

    dissenting opinion of Justice Breyer – representing six Justices in total —

    reviewed the consular officer’s visa denial in in order to issue their opinions.

    Justice Kennedy’s concurrence looked at the visa applicant’s employment

    with the Taliban to determine that the consular officer’s decision had a

    factual basis. Kerry v. Din, 135 S. Ct. 2128 (2015) (Justice Kennedy

    concurring opinion at 4). Justice Breyer stated that a statement, permitting

    an individual to understand why the government acted as it did, is a

    fundamental element of due process. Kerry v. Din, 135 S. Ct. 2128 (2015)

    (Justice Breyer dissenting opinion at 6) Limited review is permitted in visa

    denials even when made by a consular officer. In Hazama, cited by the

    Defendants, the court held that consular officers’ decisions are reviewable

    when there is no facially legitimate and bonafide reason for the denial.


                                           11
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    Hazama v. Tillerson, 851 F.3d 706 (7th Cir. 2017) (visa denied to a member

    of the Palestinian Authority who threw rocks at Israeli soldiers). Therefore,

    even if the doctrine of consular nonreviewability applied, this Court has

    jurisdiction in this case.

              2. The Defendants have refused to provide the basis for the

                  inadmissibility decision so that the Plaintiffs can request an

                  exemption which is available under the statute.

           INA §212(a) (3) (B) includes a long list of acts including providing

    material support to a terrorist organization for which a person may be

    inadmissible. This INA section is limited by the fact that the support must be

    material and that knowledge is a requirement for the inadmissibility

    determination. “INA §212(a) (3) (B) provides:

                  (VI) to commit an act that the actor knows, or reasonably
           should know, affords material support, including a safe house,
           transportation, communications, funds, transfer of funds or other
           material financial benefit, false documentation or identification,
           weapons (including chemical, biological, or radiological weapons),
           explosives, or training- (aa) for the commission of a terrorist activity;
           (bb) to any individual who the actor knows, or reasonably should
           know, has committed or plans to commit a terrorist activity; (cc) to a
           terrorist organization described in clause (vi)(I) or (vi)(II); or (dd) to a
           terrorist organization described in clause (vi)(III), unless the actor
           can demonstrate that he did not know, and should not reasonably
           have known, that the act would further the organization's terrorist
           activity.


                                            12
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    INA § 212(a)(3)(B)(iv)(VI), 8 U.S.C. § 1182(a)(3)(B)(iv)(VI). (Emphasis
    Added)

    The knowledge requirement is essential and Congress intended for the

    person subjected to this ground of inadmissibility to have the opportunity to

    demonstrate that “he/she did not know or should not have reasonably

    known” that he/she was furthering terrorist activity. Without knowing what

    information is being used to determine inadmissibility, the Plaintiffs have no

    way of demonstrating that they did not know and should not have reasonably

    known. Am. Acad. of Religion v. Napolitano, 573 F.3d 115 (2nd Cir. 2009)

    (“We conclude that the District Court had jurisdiction to consider the claim,

    despite the doctrine of consular nonreviewability; the statutory provision

    expanding visa ineligibility to those who contributed funds to an

    undesignated terrorist organization before the provision was enacted was

    validly applied to Ramadan; the knowledge requirement of the statute

    required the consular officer to find that Ramadan knew his contributions

    provided material support; and the consular officer was required to confront

    Ramadan with the allegation against him and afford him the subsequent

    opportunity to demonstrate by clear and convincing evidence that he did not

    know, and reasonably should not have known, that the recipient of his

    contributions was a terrorist organization”)

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          In addition to the material and knowing requirements of visa denials

    and decisions of inadmissibility grounds based on terrorism, the law

    provides for the ability of a person to request an exemption from the

    inadmissibility bar of INA §212(a)(3)(B). The Secretaries of State and

    Homeland Security, in consultation with the Attorney General, can authorize

    exemptions from the terrorism-related inadmissibility grounds. See INA

    §212(d) (3) (B).

          In essence, the availability of an exemption constitutes Congressional

    intent to provide the applicant with a specific reason for the inadmissibility,

    otherwise the exemption would be useless. Terrorism-related inadmissibility

    requires a more searching inquiry and access to the underlying reasons for

    the inadmissibility determination.

          Meaningful redress for erroneous determinations of terrorism related

    inadmissibility grounds must include a basis to know and the ability to

    challenge the determination. Meaningful access to the evidence used to

    make the determination before a neutral decision maker is warranted by due

    process. The Defendant agencies actions in this case have unilaterally

    nullified that part of the law that provides for an exemption by refusing to

    provide the Plaintiffs with a rationale for the INA §212(d) (3) (B)


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    determination.

          Likewise, Plaintiff Amiri is unable to challenge the TECS designation

    because she has no information regarding the contents of the TECS

    designation made by an unknown federal agency.



              3. The Defendants have acted in bad faith towards the Plaintiffs.

          Profiling based on imputed religion and/or national origin is

    prohibited by the U.S. law and clearly shows bad faith. This would not be

    the first time the Defendants have engaged in bad faith in the denial of visas.

    In Olsen v. Albright, a consular officer sued DOS for wrongful termination

    because he refused to follow the consulate’s arbitrary, irrational and

    discriminatory visa refusal policies. The consular officer was fired because

    he would not deny visas based on ethnicity or surname. Olsen v. Albright,

    990 F. Supp. 31 (D.D.C. 1997). The Court in Olsen held that “The singling

    out of applicants for additional scrutiny based upon a discriminatory profile

    which is likely to increase the possibility of visa denial is sufficiently

    burdensome to cause a substantial injury to these groups.” Olsen v. Albright,

    990 F. Supp. At 38. Other courts have also held that profiling is

    impermissible in deciding immigration benefits. Patel v. I.N.S.,811 F.2d


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    377, 382 (7th Cir. 1987); United States v. Slocum, 464 F.2d 1180,1184 (3rd

    Cir. 1972)(profile used to identify possible airplane hijackers may not

    discriminate against any group on the basis of religion, origin, political

    views or race.) Abdullah v. I.N.S., 921 F. Supp. 1080, 1093-94 (SDNY 1996)

    (Immigration applications denied based on association with a particular

    group violates our most basic principles.)

          Unfortunately, the Defendants do profile Muslims or those perceived

    to be Muslims. See, Jennie Pasquarella, Muslims Need Not Apply- How

    USCIS Secretly Mandates the Discriminatory Delay and Denial of

    Citizenship and Immigration Benefits to Aspiring Americans, ACLU SoCal,

    Aug. 2013,

    https://www.aclusocal.org/sites/default/files/field_documents/161849063-

    muslims-need-not-apply-aclu-socal-report.pdf. ; Edward Cody, Travelers

    with Muslims Names Find Themselves Fighting for U.S. Visa, Washington

    Post Foreign Service, Apr. 1, 2010; Karen McVeigh, FBI Granted Power to

    Delay Citizenship for Muslims, ACLU Report Says, The Guardian, Aug. 21,

    2013; Deepa Iyer, Jayesh M. Rathod, 9/11 and the Transformation of U.S.

    Immigration Law and Policy, ABA Human Rights Magazine Vol 38 No 1

    (Winter 2011)


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          The Plaintiffs in this case are victims of bad faith by the Defendants in

    that they have been profiled based on their national origin and imputed

    religious belief of Islam. The Defendants’ acts of profiling, as the Court in

    Olsen stated, has caused and continues to cause, the Plaintiffs substantial

    injury.

          In Cherri v. Mueller, the court in the Eastern District of Michigan

    denied a Motion to Dismiss because it was premature to determine whether

    CBP had engaged in religious profiling. Cherri v. Mueller, 951 F. Supp. 2d

    918 (E.D. Mi 2013) Likewise in this case, the Motion to Dismiss should be

    denied as premature. Therefore, the Motion to Dismiss should not be

    granted as the Plaintiffs have demonstrated that the Defendants do profile

    and that discovery in this case is necessary to show that the Defendants did

    in fact engage in bad faith in this instance.



              4. The Plaintiffs have standing in this matter

          All the Plaintiffs in this case have standing in this matter. This is not a

    case of consular nonreviewability despite the Defendants statements to the

    contrary. All the Plaintiffs have suffered injuries and deprivation of rights

    attributable to the Defendants. The U.S. Supreme Court has held that


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    standing is not confined to those who show economic harm, as "[a]esthetic

    and environmental well-being, like economic well-being, are important

    ingredients of the quality of life in our society. United States v. SCRAP, 412

    U.S. 669 (1973) (U.S. Supreme Court found standing to sue because the

    Plaintiffs had the right to enjoy the surrounding environment which was

    threatened by a corporation.) Certainly the wellbeing of the family and the

    marital relationship is as important, if not more so, than aesthetic and

    environmental wellbeing.

             Mohammed Amin Latif has standing because he is definitely affected

    by the inadmissibility decision. The fact that he is currently not in the U.S.
                                                                                    2
    should not be the determining factor for judicial review.                           Even as to

    noncitizens considered legally to be outside our borders, broad judicial

    review over questions of law has been permitted for a century via habeas

    corpus. Gegiow v. Uhl, 239 U.S. 3, 9-10 (1915). The mere fact that Mr.

    Latif is outside the U.S. should not preclude judicial review. Plaintiff Latif

    has suffered and continues to suffer the deprivation of living with his family

    and his marital relationship as well as being designated as someone

    connected to terrorism without redress to challenge that determination.


    2 Plaintiff Latif has previously been in the U.S. under legal immigration status for many years without
    incident.

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          Loabat Amiri has standing in the case because she has she been

    deprived of the Constitutional right of the marital relationship. The Supreme

    Court has deemed “straightforward” the notion that “[t]he Due Process

    Clause provides that certain substantive rights-life, liberty, and property-

    cannot be deprived except pursuant to constitutionally adequate procedures.”

    Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541, 105 S.Ct. 1487, 84

    L.Ed.2d 494 (1985).     Freedom of personal choice in matters of marriage

    and family life is, of course, one of the liberties protected by the Due

    Process Clause.    See, Cleveland Bd. of Educ. v. LaFleur, 414 U.S. 632, 639-

    640, 94 S.Ct. 791, 39 L.Ed.2d 52 (1974) The Defendants recognize the right

    to a marital relationship implicated by the Constitution in their Motion to

    Dismiss. Dkt. 20 at p.8 – 9 FN. 8. As the concurring Justices in Din

    assumed, Plaintiff Amiri has a sufficient interest in the grant of a visa to her

    husband that this case can and should go forward

          Furthermore, the TECS designation in Plaintiff Amiri’s file has

    negative implications since this designation shows that a record has been

    created in some database about Plaintiff Latif with unknown implications.

    Additionally by having her spouse designated as someone connected to

    terrorism without knowing why damages her reputation. She is unable to


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    redress these injuries without judicial review.

                 Fabod Latif has standing in this case because the right to reside

    with his family which includes his father is protected by the Immigration

    laws. 8 U.S.C. § 1151(b) (2) (A) (i); INA 203(d).

                 The stigma, humiliation, fear and uncertainty that come with

    the knowledge that a person has been designated as being involved with

    terrorism affects not only the individual, but his/her entire family.

                 The Complaint in this matter sufficiently alleges that the

    Plaintiffs were "adversely affected" or "aggrieved" within the meaning of the

    Administrative Procedure Act (APA), 5 U.S.C. 702. The Defendant agencies

    have denied the Plaintiffs the ability to obtain information necessary to

    challenge the INA§212(a) (3) (B) determination or to request an exception.

    It is likely that they have shared this information with other agencies

    including state and local law enforcement. In the case of Plaintiff Latif, the

    Defendants more likely than not shared the derogatory information with

    British officials. Congress provided for the ability to request an exemption

    from INA§212(a) (3) (B), yet the Defendants have denied this statutory right

    to the Plaintiffs. The Defendants have acted arbitrarily and capriciously.

    There is no adequate way to challenge the determination other than through


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    judicial review. Congress meant INA §212(a) (3) (B) to apply to persons

    outside the U.S. not just to persons within the U.S. This review applies to

    both persons outside and within the U.S. Therefore, the Plaintiffs have

    standing in this case and the Motion to dismiss should not be granted.



              5. The Plaintiffs have stated a claim under the U.S. Constitution

                 and the various statutes.

          The Plaintiffs challenge the actions of all the Defendant agencies not

    just the consular officers. Therefore, the Defendants are incorrect in stating

    that there is no claim under the APA because this is a not a consular

    nonreviewability case.

          The Plaintiffs have stated with sufficient specificity the claims against

    the Defendants. The complaint is supported by factual allegations. The

    Complaint states claims that are more than sheer possibility.

          For example, The New York Times article referenced in the Complaint

    states the fact that Muslims are targeted in the various terrorist databases.

    Dkt.19 at ¶ 3. This article supports the Plaintiffs’ claim under the Equal

    Protection Clause of the Fifth Amendment.

          The Complaint states a claim under the Procedural Due Process


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    Clause of the Fifth Amendment of the U.S. Constitution. The Complaint

    states how the Plaintiffs have been deprived of their protected interests as a

    family and to be free from profiling from the government. Dkt.19 at ¶¶ 4, 6,

    and 7. This Response to the Defendants’ Motion to Dismiss further explains

    how these rights are protected under the U.S. Constitution and the INA.

          The Defendants argue that the Plaintiffs did not allege that the

    government maintains records of individuals belonging to a particular faith.

    Dkt. 20 at p.20. This is wholly incorrect since in fact, there is no

    requirement that such an allegation be made in the complaint. Defendants

    seem to be asking that the Plaintiffs prove their entire case before discovery.

    Rather, what is required is that the complaint include allegations of

    discrimination. The Complaint does precisely that – allege discrimination

    and provides a factual basis. Dkt. 19 at ¶¶ 68, 68, 70, 108, 109. Therefore,

    the Defendants’ Motion to Dismiss should be denied.

          While maintaining their argument that they have a right to confront

    the evidence against them under the Due Process clause of the U.S.

    Constitution, the Plaintiffs concede that the Sixth Amendment to the U.S.

    Constitution does not apply in this case.

          The Plaintiffs are not stating that the Defendants are not allowed to


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    keep records on individuals; rather the Plaintiffs argue that those records

    cannot be used in a discriminatory manner to deny immigration benefits.




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       IV.      CONCLUSION


             For the reasons stated above, the Defendants’ Motion to Dismiss the

    Plaintiffs’ Complaint should be denied.



    Respectfully submitted:                 Dated: November 24, 2017

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       V.      CERTIFICATE OF SERVICE




            I hereby certify that on November 24, 2017, that the Plaintiff’s Motion

    for Leave to file First Amended Complaint was served upon Government’s

    counsel by filing the same electronically with the ECF system which will

    notify opposing counsel:

                       Aaron S. Goldsmith, DOJ Senior Litigation Counsel

    Respectfully submitted:

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